
Natural Therapy Acupuncture, P.C., as Assignee of Richmord, Jasmaine, Respondent,
againstGEICO Ins. Co., Appellant. 




Law Office of Goldstein &amp; Flecker (Lawrence J. Chanice of counsel), for appellant.
The Rybak Firm, PLLC (Damin J. Toell of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Devin P. Cohen, J.), entered December 15, 2016. The order, insofar as appealed from and as limited by the brief, denied the branch of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover upon the unpaid portion of plaintiff's claims.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and the branch of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover upon the unpaid portion of plaintiff's claims is granted.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment and defendant cross-moved for summary judgment dismissing the complaint. By order entered December 15, 2016, insofar as appealed from as limited by the brief, the Civil Court denied the branch of defendant's cross motion seeking dismissal of so much of the complaint as sought to recover upon the unpaid portion of plaintiff's claims.
For the reasons stated in Natural Therapy Acupuncture, P.C., as Assignee of Boodoo, Anselm Kevin v GEICO Ins. Co. (__ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2017-635 K C], decided herewith), the order, insofar as appealed from, is reversed and the branch of defendant's cross motion seeking summary judgment dismissing so much of the complaint as sought to recover upon the unpaid portion of plaintiff's claims is granted.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 02, 2019










